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IN THE UNITED sTATEs DISTRICT coURT uc.
FoR THE wEsTERN DISTRICT oF TENNESSEE OSA
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Plaintiff,
vs. No. 05-2210 B P

JoHN PoTTER,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a telephonic scheduling conference
was held July 14, 2005. Present were Michael G. Floyd, counsel for
plaintiff, and William W. Siler, Assistant United States Attorney,
counsel for defendants. At the conference, the following dates
were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): August 1,
2005

JOINING PARTIES: September 14, 2005
AMENDING PLEADINGS: September 14, 2005
INITIAL MOTIONS TO DISMISS: October 14, 2005
COMPLETING ALL DISCOVERY: March 31, 2006

(a) DOCUMENT PRODUCTION: March 31, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR mee
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ADMIssIoNs: March 31, 2006 hmgmcm'p
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(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: January 31, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 28, 2006

(3) EXPERT WITNESS DEPOSITIONS: March 31, 2006
FILING DISPOSITIVE MOTIONS: June 30, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff' date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good. cause sh\c>wn,r or the objection to the default,r response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last four days. The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

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This case appropriate for ADR. The parties are encouraged
to engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a .motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

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The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.
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Tu M. Pham
UNITED STATES MAGISTRATE JUDGE

DATE : W 33 9°‘§

IT IS SO ORDERED.

 

UNITED`TATES …IRITURT- WESTERN ISTRICT oFTi\INEEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02210 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

William W. Siler

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Jennifer C. Kellett

U.S. POSTAL SERVICE
225 No. Humphreys Blvd.
1\/lemphis7 TN 38166--017

Michael G. Floyd

FLOYD LAW FIRM
2129 Winchester Rd.
1\/lemphis7 TN 38116

Honorable J. Breen
US DISTRICT COURT

